Case 1:21-cv-21940-BB Document 65 Entered on FLSD Docket 11/14/2022 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                         Case No.: 21-cv-21940-BLOOM/Otazo-Reyes

  NEIMA BENAVIDES, as Personal
  Representative of the Estate of Naibel Benavides
  Leon, deceased,

           Plaintiff,

  v.

  TESLA, INC., a/k/a Tesla Florida, Inc., Defendant.
                                                /


   DILLON ANGULO,                                     Case 1:22-22607-KMM

           Plaintiff,

   v.

   TESLA, INC. a/k/a Tesla Florida, Inc.


            Defendant.

                                                 /


        ORDER REGARDING PLAINTIFF’S RESPONSES TO TESLA’S DISCOVERY

 Upon consideration and for good cause, the following is HEREBY ORDERED:

       1. Plaintiff Neima Benavides shall fully respond in substance and produce any documents

          responsive to Requests 24, 26, 27, 28, 29, 30, 31, 32, 33 within Tesla’s First Requests for

          Production no later than December 5, 2022.
Case 1:21-cv-21940-BB Document 65 Entered on FLSD Docket 11/14/2022 Page 2 of 2



      2. Plaintiff Neima Benavides shall fully respond in substance and produce any documents

         responsive to Tesla’s Second Requests for Production no later than December 5, 2022.

      3. Plaintiff Neima Benavides shall fully respond in substance to Tesla’s First Requests for

         Admission no later than December 5, 2022.

      4. Plaintiff Neima Benavides shall fully respond in substance and produce any documents

         responsive to Tesla’s Third Request for Production no later than December 5, 2022.

         DONE AND ORDERED in Chambers at Miami, Florida, on November 14, 2022.




                                                      ALICIA M. OTAZO-REYES
                                                      UNITED STATES MAGISTRATE JUDGE


cc:     United States District Judge Beth Bloom
        Counsel of Record
